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                                                                                                                                                               %
                                                                                                                                                                                    % Reduction
                                                                                                                   Actual    Actual    Claimed   Actual    Reduction  Time  Amount
Date Billed on        Billed By                                      Description                                                                                                       (time              Category
                                                                                                                   Time      Charge      rate     rate      (hourly Claimed Claimed
                                                                                                                                                                                     claimed)
                                                                                                                                                             rate)
 10/1/2019       Josh Sanford      Examination of IOMS: new case                                                       0.2    $50.00 $250.00     $325.00        23%      0.2   $50.00     0.00% Case Management
                                   Receive, read and prepare response to email(s) from firm re: intake
 10/1/2019       Stacy Gibson      documents, conflict check; conference with staff re: the same                       0.1    $15.00 $150.00 $190.00            21%        0    $0.00   100.00%   Case Management
 10/1/2019       Anna Stiritz      Receive and open firm file                                                          0.3    $60.00 $200.00 $250.00            20%      0.3   $60.00     0.00%   Case Management
 10/1/2019       Josh Sanford      Receive and open firm file                                                          0.1    $25.00 $250.00 $325.00            23%        0    $0.00   100.00%   Case Management
 10/1/2019       Josh Sanford      Telephone Conference(s) with AS: merits                                             0.1    $25.00 $250.00 $325.00            23%      0.1   $25.00     0.00%   In House Conference
                                   Work on Client's file: research Defendant; phone call with client re pay
                                   structure and duties; Draft Complaint, Summons, CTJ, and CCS; Conference
 10/2/2019       Courtney Lowery   with JS                                                                             3.3 $330.00 $100.00 $150.00              33%      3.3 $330.00      0.00% Complaint
 10/2/2019       Josh Sanford      Editing and revision of complaint                                                   0.3  $75.00 $250.00 $325.00              23%      0.3  $75.00      0.00% Complaint
 10/2/2019       Josh Sanford      Editing and revision of summons and CCS                                             0.1  $25.00 $250.00 $325.00              23%      0.1  $25.00      0.00% Complaint

 10/2/2019       Josh Sanford      Discussion of case status and directing case strategy to Attorney SR (Edits)        0.1    $25.00   $250.00   $325.00        23%        0    $0.00   100.00%   In House Conference
 10/2/2019       Josh Sanford      Conference with CL: complaint                                                       0.1    $25.00   $250.00   $325.00        23%      0.1   $25.00     0.00%   In House Conference
 10/3/2019       Josh Sanford      Examination of filed case; judge assignment                                         0.1    $25.00   $250.00   $325.00        23%      0.1   $25.00     0.00%   Case Management
 10/3/2019       Josh Sanford      Work on Client's file: prep for filing                                              0.1    $25.00   $250.00   $325.00        23%        0    $0.00   100.00%   Case Management
 10/3/2019       Law Clerk         Filing of                                                                             1    $25.00    $25.00    $25.00         0%        0    $0.00   100.00%   Case Management
                                   Receipt and review of summons issued; conference with staff regarding service
 10/3/2019       Sean Short        of process.                                                                         0.1    $15.00   $150.00   $175.00        14%        0    $0.00   100.00%   Complaint
 10/3/2019       Josh Sanford      Conference with CL: filing today                                                    0.1    $25.00   $250.00   $325.00        23%        0    $0.00   100.00%   In House Conference
 10/3/2019       Josh Sanford      Conference with Staff: filing today                                                 0.1    $25.00   $250.00   $325.00        23%      0.1   $25.00     0.00%   In House Conference
 10/3/2019       Josh Sanford      Conference with SS: initiating service of process                                   0.1    $25.00   $250.00   $325.00        23%      0.1   $25.00     0.00%   In House Conference
 10/4/2019       Josh Sanford      Conference with process server                                                      0.1    $25.00   $250.00   $325.00        23%      0.1   $25.00     0.00%   Complaint
 10/7/2019       Steve Rauls       Examination of file for internal tracking                                           0.1    $20.00   $200.00   $225.00        11%        0    $0.00   100.00%   Case Management
 10/8/2019       Josh Sanford      Conference with process server                                                      0.1    $25.00   $250.00   $325.00        23%      0.1   $25.00     0.00%   Complaint
 10/9/2019       Josh Sanford      Examination of Return of summons-filed                                              0.1    $25.00   $250.00   $325.00        23%        0    $0.00   100.00%   Case Management

  10/9/2019      Tracy Freeman     Work on Client's file: save return of service; calendar def's answer deadline       0.1     $2.50    $25.00    $25.00         0%      0.1    $2.50     0.00%   Case Management
  10/9/2019      Sean Short        Filing of summons returned executed.                                                0.1    $15.00   $150.00   $175.00        14%        0    $0.00   100.00%   Case Management
  10/9/2019      Sean Short        Receipt and review of summons returned executed; save to file.                      0.1    $15.00   $150.00   $175.00        14%        0    $0.00   100.00%   Case Management
 10/25/2019      Josh Sanford      Examination of IOM: client contact                                                  0.1    $25.00   $250.00   $325.00        23%        0    $0.00   100.00%   Case Management
 10/25/2019      Josh Sanford      Examination of NOA-Williams                                                         0.1    $25.00   $250.00   $325.00        23%      0.1   $25.00     0.00%   Case Management
 10/25/2019      Josh Sanford      Examination of answer                                                               0.3    $75.00   $250.00   $325.00        23%      0.3   $75.00     0.00%   Case Management
 10/25/2019      Josh Sanford      Preparation and drafting of IOM: next steps                                         0.1    $25.00   $250.00   $325.00        23%        0    $0.00   100.00%   Case Management
                                   Work on Client's file: review Answer; conference with JS; email to client re
 10/28/2019      Courtney Lowery   additional plaintiffs                                                               0.3    $30.00 $100.00 $150.00            33%      0.3   $30.00     0.00% Case Management
 10/28/2019      Josh Sanford      Discussion of case status and directing case strategy to Attorney CL                0.1    $25.00 $250.00 $325.00            23%        0    $0.00   100.00% In House Conference

 10/29/2019      Courtney Lowery   Telephone Conference(s) between Attorney and Client re additional plaintiffs        0.1    $10.00   $100.00   $150.00        33%      0.1   $10.00     0.00%   Client Communication
  11/4/2019      Josh Sanford      Examination of Intra-office memo regarding case events and deadlines                0.1    $25.00   $250.00   $325.00        23%        0    $0.00   100.00%   Case Management
  11/4/2019      Tracy Freeman     Work on Client's file: save ISO; calendar deadlines                                 0.2     $5.00    $25.00    $25.00         0%      0.2    $5.00     0.00%   Case Management
 12/31/2019      Josh Sanford      Examination of Intra-office memo regarding case events and deadlines                0.1    $25.00   $250.00   $325.00        23%        0    $0.00   100.00%   Case Management
 12/31/2019      Courtney Lowery   Preparation and drafting of Joint 26(f) Report                                      0.4    $40.00   $100.00   $150.00        33%      0.4   $40.00     0.00%   Case Management
   1/2/2020      Josh Sanford      Editing and revision of 26f report                                                  0.1    $25.00   $250.00   $325.00        23%      0.1   $25.00     0.00%   Case Management
   1/2/2020      Josh Sanford      Examination of Intra-office memo regarding case events and deadlines                0.1    $25.00   $250.00   $325.00        23%        0    $0.00   100.00%   Case Management
   1/2/2020      Josh Sanford      Conference with CL: case managment                                                  0.1    $25.00   $250.00   $325.00        23%        0    $0.00   100.00%   In House Conference
   1/2/2020      Josh Sanford      Examination of email to OC, with report                                             0.1    $25.00   $250.00   $325.00        23%      0.1   $25.00     0.00%   Opposing Counsel Communication
   1/2/2020      Josh Sanford      Examination of OC email                                                             0.1    $25.00   $250.00   $325.00        23%        0    $0.00   100.00%   Opposing Counsel Communication
   1/3/2020      Josh Sanford      Editing and revision of revised 26f                                                 0.1    $25.00   $250.00   $325.00        23%      0.1   $25.00     0.00%   Case Management
   1/3/2020      Courtney Lowery   Receipt and review of OC's edits to 26(f) report                                    0.1    $10.00   $100.00   $150.00        33%      0.1   $10.00     0.00%   Case Management
   1/3/2020      Josh Sanford      Examination of email form OC-26f                                                    0.1    $25.00   $250.00   $325.00        23%      0.1   $25.00     0.00%   Opposing Counsel Communication
   1/3/2020      Josh Sanford      Examination of email to OC                                                          0.1    $25.00   $250.00   $325.00        23%        0    $0.00   100.00%   Opposing Counsel Communication
   1/6/2020      Tracy Freeman     Receipt and review of Rule 26(f) Report; save in file; calendar deadline            0.1     $2.50    $25.00    $25.00         0%      0.1    $2.50     0.00%   Case Management
   1/6/2020      Courtney Lowery   Work on Client's file: efile 26(f) report                                           0.1    $10.00   $100.00   $150.00        33%      0.1   $10.00     0.00%   Case Management
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 1/6/2020   Josh Sanford         Examination of filed 26f report                                                       0.1   $25.00   $250.00   $325.00   23%     0    $0.00   100.00%   Case Management
 1/6/2020   Josh Sanford         Examination of email from OC                                                          0.1   $25.00   $250.00   $325.00   23%   0.1   $25.00     0.00%   Opposing Counsel Communication
 1/7/2020   Josh Sanford         Examination of FSO                                                                    0.1   $25.00   $250.00   $325.00   23%   0.1   $25.00     0.00%   Case Management
1/10/2020   Tracy Freeman        Receipt and review of filed FSO; save in file; calendar deadline                      0.4   $10.00    $25.00    $25.00    0%   0.4   $10.00     0.00%   Case Management
1/28/2020   Courtney Lowery      Work on Client's file: review file and status of case                                 0.1   $10.00   $100.00   $150.00   33%   0.1   $10.00     0.00%   Case Management
1/29/2020   Josh Sanford         Editing and revision of initial disclosures                                           0.1   $25.00   $250.00   $325.00   23%   0.1   $25.00     0.00%   Case Management

1/29/2020   Courtney Lowery      Conference with JS re class, call to OC (vm), edit initial disclosures, email to OC   0.2   $20.00   $100.00   $150.00   33%   0.2   $20.00     0.00%   Case Management
1/29/2020   Courtney Lowery      Preparation and drafting of initial disclosures                                       0.1   $10.00   $100.00   $150.00   33%   0.1   $10.00     0.00%   Case Management
1/29/2020   Josh Sanford         Conference with CL: OC email                                                          0.1   $25.00   $250.00   $325.00   23%     0    $0.00   100.00%   In House Conference
1/29/2020   Josh Sanford         Discussion of case status and directing case strategy to Attorney CL                  0.1   $25.00   $250.00   $325.00   23%     0    $0.00   100.00%   In House Conference
1/29/2020   Josh Sanford         Examination of email to OC                                                            0.1   $25.00   $250.00   $325.00   23%   0.1   $25.00     0.00%   Opposing Counsel Communication
1/29/2020   Josh Sanford         Examination of Def's disclosures                                                      0.2   $50.00   $250.00   $325.00   23%   0.2   $50.00     0.00%   Opposing Counsel Communication
1/29/2020   Josh Sanford         Telephone Conference(s) with OC - VM                                                  0.1   $25.00   $250.00   $325.00   23%     0    $0.00   100.00%   Opposing Counsel Communication
1/29/2020   Josh Sanford         Receive, read and prepare response to email(s) from OC: settlement                    0.1   $25.00   $250.00   $325.00   23%   0.1   $25.00     0.00%   Settlement Related
1/30/2020   Courtney Lowery      Receipt and review of Def's Initial Disclosures                                       0.1   $10.00   $100.00   $150.00   33%   0.1   $10.00     0.00%   Case Management
1/30/2020   Josh Sanford         Conference with CL:                                                                   0.1   $25.00   $250.00   $325.00   23%     0    $0.00   100.00%   In House Conference
1/30/2020   Josh Sanford         Examination of email from OCs                                                         0.1   $25.00   $250.00   $325.00   23%   0.1   $25.00     0.00%   Opposing Counsel Communication
                                 Receive, read and prepare response to email(s) from OC: informal
1/30/2020   Josh Sanford         discovery/settlement                                                                  0.1   $25.00 $250.00 $325.00       23%   0.1   $25.00     0.00%   Settlement Related
1/31/2020   Josh Sanford         Examination of Intra-office memo regarding case events and deadlines                  0.1   $25.00 $250.00 $325.00       23%     0    $0.00   100.00%   Case Management
 2/1/2020   Josh Sanford         Examination of OC email                                                               0.1   $25.00 $250.00 $325.00       23%   0.1   $25.00     0.00%   Opposing Counsel Communication
 2/1/2020   Josh Sanford         Examination of OC email                                                               0.1   $25.00 $250.00 $325.00       23%     0    $0.00   100.00%   Opposing Counsel Communication

2/3/2020    Josh Sanford         Receive, read and prepare response to email(s) from CL: calculating damages           0.1   $25.00 $250.00 $325.00       23%   0.1   $25.00     0.00%   In House Conference
2/7/2020    Marley Cash-Powell   Preparation and drafting of NOA-CL                                                    0.1    $2.50  $25.00  $25.00        0%   0.1    $2.50     0.00%   Case Management
3/4/2020    Josh Sanford         Conference with CL: strategy                                                          0.1   $25.00 $250.00 $325.00       23%     0    $0.00   100.00%   In House Conference
3/4/2020    Josh Sanford         Receive, read and prepare response to email(s) from CL: demand                        0.1   $25.00 $250.00 $325.00       23%   0.1   $25.00     0.00%   In House Conference
                                 Conference with JS re settlement; calculate damages; draft proposed
3/4/2020    Courtney Lowery      settlement email to OC                                                                0.8   $80.00   $100.00   $150.00   33%   0.8   $80.00     0.00% Settlement Related
                                 Receive, read and prepare response to email(s) from JS; send email re
 3/5/2020   Courtney Lowery      settlement to OC                                                                      0.2   $20.00   $100.00   $150.00   33%   0.2   $20.00     0.00%   In House Conference
 3/5/2020   Josh Sanford         Examination of demand to OC                                                           0.1   $25.00   $250.00   $325.00   23%   0.1   $25.00     0.00%   Settlement Related
4/15/2020   Josh Sanford         Examination of OC email                                                               0.1   $25.00   $250.00   $325.00   23%     0    $0.00   100.00%   Opposing Counsel Communication
4/15/2020   Courtney Lowery      Receipt and review of email from OC re settlement                                     0.1   $10.00   $100.00   $150.00   33%   0.1   $10.00     0.00%   Settlement Related
4/21/2020   Courtney Lowery      Conference with JS re settlement                                                      0.1   $10.00   $100.00   $150.00   33%   0.1   $10.00     0.00%   In House Conference
4/21/2020   Courtney Lowery      Preparation and drafting of email to OC re settlement                                 0.4   $40.00   $100.00   $150.00   33%   0.4   $40.00     0.00%   Settlement Related
4/21/2020   Josh Sanford         Conference with CL: counteroffer                                                      0.1   $25.00   $250.00   $325.00   23%   0.1   $25.00     0.00%   Settlement Related
4/21/2020   Josh Sanford         Editing and revision of email to OC-discovery/damages                                 0.1   $25.00   $250.00   $325.00   23%   0.1   $25.00     0.00%   Settlement Related
                                 Telephone Conference(s) between Attorney and Client re settlement;
4/22/2020   Courtney Lowery      conference with JS re same                                                            0.4   $40.00   $100.00   $150.00   33%   0.4   $40.00     0.00%   Client Communication
4/22/2020   Josh Sanford         Receive, read and prepare response to email(s) from CL: offer from OC                 0.1   $25.00   $250.00   $325.00   23%   0.1   $25.00     0.00%   In House Conference
4/22/2020   Josh Sanford         Telephone Conference(s) with CL: offer; call with client                              0.1   $25.00   $250.00   $325.00   23%   0.1   $25.00     0.00%   In House Conference
4/22/2020   Josh Sanford         Examination of email to OC-settlement                                                 0.1   $25.00   $250.00   $325.00   23%   0.1   $25.00     0.00%   Settlement Related
4/23/2020   Courtney Lowery      Compose electronic communication to client re Def's settlement offer                  0.1   $10.00   $100.00   $150.00   33%   0.1   $10.00     0.00%   Client Communication
 5/4/2020   Courtney Lowery      Compose electronic communication to client re evidence of OTC work                    0.1   $10.00   $100.00   $150.00   33%   0.1   $10.00     0.00%   Client Communication
                                 Telephone Conference(s) between Attorney and Client re settlement and
 6/4/2020   Courtney Lowery      phone records                                                                         0.2   $20.00 $100.00 $150.00       33%   0.2   $20.00     0.00%   Client Communication
6/29/2020   Josh Sanford         Examination of Intra-office memo regarding case events and deadlines                  0.1   $25.00 $250.00 $325.00       23%     0    $0.00   100.00%   Case Management
6/29/2020   Courtney Lowery      Compose electronic communication to client re phone records                           0.1   $10.00 $100.00 $150.00       33%   0.1   $10.00     0.00%   Client Communication
7/20/2020   Cagney Kilgroe       Work on Client's file: Organize intake documentation                                  0.4   $10.00  $25.00  $25.00        0%   0.4   $10.00     0.00%   Case Management

7/20/2020   Courtney Lowery      Work on Client's file: review deadlines; send text to client re phone records         0.1   $10.00   $100.00   $150.00   33%   0.1   $10.00     0.00%   Client Communication
7/20/2020   Courtney Lowery      Receipt and review of phone records from client; send to CK                           0.1   $10.00   $100.00   $150.00   33%   0.1   $10.00     0.00%   Discovery Related
7/21/2020   Courtney Lowery      Conference with CK re damages; create excel damages framework                         0.3   $30.00   $100.00   $150.00   33%   0.3   $30.00     0.00%   Case Management
7/21/2020   Courtney Lowery      Analyze phone records; conference with CK re updated damages                          0.3   $30.00   $100.00   $150.00   33%   0.3   $30.00     0.00%   Discovery Related
7/21/2020   Cagney Kilgroe       Work on Client's file: damage calculations                                            0.8   $20.00    $25.00    $25.00    0%   0.8   $20.00     0.00%   Discovery Related
7/21/2020   Cagney Kilgroe       Work on Client's file: damage calculations                                              1   $25.00    $25.00    $25.00    0%     1   $25.00     0.00%   Discovery Related
7/21/2020   Courtney Lowery      Conference with JS re discovery and damages                                           0.1   $10.00   $100.00   $150.00   33%   0.1   $10.00     0.00%   In House Conference
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7/21/2020   Courtney Lowery   Conference with CK re damages calculations                                      0.1   $10.00   $100.00   $150.00   33%   0.1   $10.00     0.00%   In House Conference
7/21/2020   Josh Sanford      Conference with CL: supp discovery                                              0.1   $25.00   $250.00   $325.00   23%     0    $0.00   100.00%   In House Conference
7/22/2020   Josh Sanford      Examination of FSO                                                              0.1   $25.00   $250.00   $325.00   23%   0.1   $25.00     0.00%   Case Management
7/22/2020   Josh Sanford      Editing and revision of supp disclosures                                        0.1   $25.00   $250.00   $325.00   23%   0.1   $25.00     0.00%   Case Management
                              Work on Client's file: damages calculations; draft supplemental initial
7/22/2020   Courtney Lowery   disclosures; draft email to OC                                                  0.8   $80.00   $100.00   $150.00   33%   0.8   $80.00     0.00% Discovery Related
7/22/2020   Cagney Kilgroe    Work on Client's file: damage calculations                                      1.5   $37.50    $25.00    $25.00    0%   1.5   $37.50     0.00% Discovery Related
                              Work on Client's file: finalize damage calculations; edit and revision of
7/22/2020   Courtney Lowery   supplemental disclosures; send to OC; draft email to OC re settlement           0.7   $70.00   $100.00   $150.00   33%   0.7   $70.00     0.00% Discovery Related

7/22/2020   Josh Sanford      Receive, read and prepare response to email(s) from CL: discovery, damages      0.1   $25.00   $250.00   $325.00   23%   0.1   $25.00     0.00%   In House Conference
7/22/2020   Courtney Lowery   Conference with JS re supplemental disclosures and damages                      0.1   $10.00   $100.00   $150.00   33%   0.1   $10.00     0.00%   In House Conference
7/22/2020   Anne Paul         Conference with CL re phone records, combine files into one                     0.1    $2.50    $25.00    $25.00    0%   0.1    $2.50     0.00%   In House Conference
7/22/2020   Anne Paul         Conference with CL re compressing phone records                                 0.1    $2.50    $25.00    $25.00    0%   0.1    $2.50     0.00%   In House Conference
7/22/2020   Josh Sanford      Editing and revision of emails to OC                                            0.1   $25.00   $250.00   $325.00   23%   0.1   $25.00     0.00%   Opposing Counsel Communication
7/22/2020   Josh Sanford      Examination of emails to OC                                                     0.1   $25.00   $250.00   $325.00   23%   0.1   $25.00     0.00%   Opposing Counsel Communication
7/22/2020   Josh Sanford      Examination of OC email                                                         0.1   $25.00   $250.00   $325.00   23%     0    $0.00   100.00%   Opposing Counsel Communication
7/23/2020   Josh Sanford      Preparation and drafting of IOMS: R68 offer                                     0.1   $25.00   $250.00   $325.00   23%   0.1   $25.00     0.00%   In House Conference
7/23/2020   Josh Sanford      Receive, read and prepare response to email(s) from OC: R68 offer               0.1   $25.00   $250.00   $325.00   23%   0.1   $25.00     0.00%   Opposing Counsel Communication
                              Receive, read and prepare response to email(s) from OC: necessity of separate
7/23/2020   Josh Sanford      negotiation                                                                     0.1   $25.00 $250.00 $325.00       23%   0.1   $25.00     0.00% Opposing Counsel Communication
7/24/2020   Josh Sanford      Receive, read and prepare response to email(s) from CL: new demand              0.1   $25.00 $250.00 $325.00       23%   0.1   $25.00     0.00% In House Conference
                              Receive, read and prepare response to email(s) from OC and JS re offer of
7/24/2020   Courtney Lowery   judgment                                                                        0.2   $20.00   $100.00   $150.00   33%   0.2   $20.00     0.00% Opposing Counsel Communication
                              Receive, read and prepare response to email(s) from OC: offer, relevant case
7/24/2020   Josh Sanford      law                                                                             0.1   $25.00   $250.00   $325.00   23%   0.1   $25.00     0.00% Opposing Counsel Communication
                              Receipt and review of email from OC; phone call to client re damages; draft
7/24/2020   Courtney Lowery   email to OC re settlement                                                       0.2   $20.00   $100.00   $150.00   33%   0.2   $20.00     0.00%   Settlement Related
7/27/2020   Courtney Lowery   Receive, read and prepare response to email(s) from OC                          0.1   $10.00   $100.00   $150.00   33%   0.1   $10.00     0.00%   Opposing Counsel Communication
7/27/2020   Josh Sanford      Examination of emails with OC                                                   0.1   $25.00   $250.00   $325.00   23%   0.1   $25.00     0.00%   Opposing Counsel Communication
7/29/2020   Josh Sanford      Examination of Intra-office memo regarding case events and deadlines            0.1   $25.00   $250.00   $325.00   23%     0    $0.00   100.00%   Case Management
 8/3/2020   Courtney Lowery   Conference with JS re attorneys fees and Motion for Recusal                     0.1   $10.00   $100.00   $150.00   33%   0.1   $10.00     0.00%   In House Conference
 8/3/2020   Josh Sanford      Conference with CL: settlement                                                  0.1   $25.00   $250.00   $325.00   23%     0    $0.00   100.00%   In House Conference
 8/3/2020   Josh Sanford      Examination of email to OC                                                      0.1   $25.00   $250.00   $325.00   23%   0.1   $25.00     0.00%   Opposing Counsel Communication
 8/3/2020   Josh Sanford      Examination of OC email                                                         0.1   $25.00   $250.00   $325.00   23%     0    $0.00   100.00%   Opposing Counsel Communication
 8/3/2020   Courtney Lowery   Receive, read and prepare response to email(s) from OC re settlement            0.1   $10.00   $100.00   $150.00   33%   0.1   $10.00     0.00%   Settlement Related
 8/3/2020   Josh Sanford      Editing and revision of demand to OC                                            0.1   $25.00   $250.00   $325.00   23%   0.1   $25.00     0.00%   Settlement Related
 8/5/2020   Anne Paul         Conference with CL re NOA                                                       0.1    $2.50    $25.00    $25.00    0%   0.1    $2.50     0.00%   Case Management
 8/5/2020   Stacy Gibson      Conference with CL re: motion for recusal                                       0.1   $15.00   $150.00   $190.00   21%     0    $0.00   100.00%   In House Conference
 8/5/2020   Anne Paul         Receive, read and prepare response to email(s) from CL re NOA                   0.1    $2.50    $25.00    $25.00    0%   0.1    $2.50     0.00%   In House Conference
 8/5/2020   Courtney Lowery   Preparation and drafting of Motion for Recusal                                  0.5   $50.00   $100.00   $150.00   33%   0.5   $50.00     0.00%   Motion for Recusal
 8/6/2020   Josh Sanford      Editing and revision of NOA-CL                                                  0.1   $25.00   $250.00   $325.00   23%   0.1   $25.00     0.00%   Case Management
 8/6/2020   Josh Sanford      Editing and revision of NOA-CL                                                  0.1   $25.00   $250.00   $325.00   23%     0    $0.00   100.00%   Case Management
 8/6/2020   Josh Sanford      Discussion of case status and directing case strategy to Attorney CL            0.1   $25.00   $250.00   $325.00   23%     0    $0.00   100.00%   In House Conference
 8/6/2020   Josh Sanford      Discussion of case status and directing case strategy to Attorney CL            0.1   $25.00   $250.00   $325.00   23%     0    $0.00   100.00%   In House Conference
 8/6/2020   Courtney Lowery   Preparation and drafting of Motion for Recusal                                  0.4   $40.00   $100.00   $150.00   33%   0.4   $40.00     0.00%   Motion for Recusal
9/10/2020   Josh Sanford      Conference with CL: status of case, deadlines                                   0.1   $25.00   $250.00   $325.00   23%     0    $0.00   100.00%   In House Conference
9/11/2020   Josh Sanford      Examination of Intra-office memo regarding case events and deadlines            0.1   $25.00   $250.00   $325.00   23%     0    $0.00   100.00%   Case Management
9/14/2020   Josh Sanford      Examination of IOM: settlement status                                           0.1   $25.00   $250.00   $325.00   23%     0    $0.00   100.00%   Case Management
9/14/2020   Courtney Lowery   Conference with JS re fee request                                               0.1   $10.00   $100.00   $150.00   33%   0.1   $10.00     0.00%   In House Conference
9/14/2020   Courtney Lowery   Conference with JS re attorneys fees                                            0.1   $10.00   $100.00   $150.00   33%   0.1   $10.00     0.00%   In House Conference
9/14/2020   Josh Sanford      Conference with CL: (status, settlement)                                        0.1   $25.00   $250.00   $325.00   23%     0    $0.00   100.00%   In House Conference
9/14/2020   Josh Sanford      Conference with CL: call with OC                                                0.1   $25.00   $250.00   $325.00   23%   0.1   $25.00     0.00%   In House Conference
9/14/2020   Courtney Lowery   Telephone Conference(s) with OC (left vm) re fees                               0.1   $10.00   $100.00   $150.00   33%     0    $0.00   100.00%   Opposing Counsel Communication
                              Receive, read and prepare response to email(s) from OC re telephone
9/14/2020   Courtney Lowery   conference                                                                      0.1   $10.00 $100.00 $150.00       33%   0.1   $10.00     0.00%   Opposing Counsel Communication
9/14/2020   Courtney Lowery   Telephone Conference(s) with OC re settlement                                   0.1   $10.00 $100.00 $150.00       33%   0.1   $10.00     0.00%   Opposing Counsel Communication
9/14/2020   Courtney Lowery   Compose electronic communication to OC re attorneys fees                        0.1   $10.00 $100.00 $150.00       33%   0.1   $10.00     0.00%   Opposing Counsel Communication
9/14/2020   Josh Sanford      Examination of emails with OC                                                   0.1   $25.00 $250.00 $325.00       23%   0.1   $25.00     0.00%   Opposing Counsel Communication
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9/14/2020   Josh Sanford      Examination of demand to OC                                                        0.1  $25.00    $250.00   $325.00   23%   0.1  $25.00      0.00%   Opposing Counsel Communication
9/15/2020   Courtney Lowery   Preparation and drafting of Motion for Attorneys' Fees                             0.6  $60.00    $100.00   $150.00   33%     0   $0.00    100.00%   Fee Petition
9/15/2020   Courtney Lowery   Conference with JS re fee petition                                                 0.1  $10.00    $100.00   $150.00   33%     0   $0.00    100.00%   In House Conference
9/15/2020   Courtney Lowery   Conference with SR re fee petition                                                 0.1  $10.00    $100.00   $150.00   33%     0   $0.00    100.00%   In House Conference
9/15/2020   Steve Rauls       Conference with CL regarding fee petition                                          0.1  $20.00    $200.00   $225.00   11%     0   $0.00    100.00%   In House Conference
9/15/2020   Josh Sanford      Examination of OC email; conf with CL                                              0.1  $25.00    $250.00   $325.00   23%     0   $0.00    100.00%   Opposing Counsel Communication
9/16/2020   Courtney Lowery   Preparation and drafting of fee petition; conference with SR re same               4.7 $470.00    $100.00   $150.00   33%     1 $100.00     78.72%   Fee Petition
9/16/2020   Steve Rauls       Conference with CL regarding fee petition and billing records                      0.1  $20.00    $200.00   $225.00   11%     0   $0.00    100.00%   In House Conference
9/16/2020   Josh Sanford      Conference with CL: fee request                                                    0.1  $25.00    $250.00   $325.00   23%     0   $0.00    100.00%   In House Conference
9/17/2020   Tracy Freeman     Work on Client's file: process ECFs.                                               0.1   $2.50     $25.00    $25.00    0%   0.1   $2.50      0.00%   Case Management
9/17/2020   Courtney Lowery   Filing of NOA and Notice of Settlement                                             0.1  $10.00    $100.00   $150.00   33%   0.1  $10.00      0.00%   Case Management
9/17/2020   Tracy Freeman     Work on Client's file: process ECFs.                                               0.1   $2.50     $25.00    $25.00    0%   0.1   $2.50      0.00%   Case Management

9/17/2020   Courtney Lowery   Editing and revision of fee petition and declaration; conference with JS re same   0.7   $70.00 $100.00     $150.00   33%    0     $0.00   100.00% Fee Petition
                              Receive, read and prepare response to email(s) from CL re: example settlement
9/17/2020   Stacy Gibson      agreement                                                                          0.2   $30.00 $150.00 $190.00       21%   0.2   $30.00     0.00% In House Conference
9/17/2020   Josh Sanford      Conference with CL: joint motion to approve                                        0.1   $25.00 $250.00 $325.00       23%   0.1   $25.00     0.00% In House Conference
                              Compose electronic communication to SG re SA template; respond to OC email
9/17/2020   Courtney Lowery   re settlement agreement draft                                                      0.1   $10.00 $100.00 $150.00       33%   0.1   $10.00     0.00% Opposing Counsel Communication
9/17/2020   Josh Sanford      Examination of emails with OC                                                      0.1   $25.00 $250.00 $325.00       23%     0    $0.00   100.00% Opposing Counsel Communication

9/17/2020   Courtney Lowery   Preparation and drafting of Joint Notice of Liability Settlement; send to OC       0.3   $30.00 $100.00     $150.00   33%   0.3   $30.00     0.00% Settlement Related
9/17/2020   Josh Sanford      Editing and revision of JNOS-Laibility                                             0.1   $25.00 $250.00     $325.00   23%   0.1   $25.00     0.00% Settlement Related
9/17/2020   Josh Sanford      Examination of email to OC- with JNOS                                              0.1   $25.00 $250.00     $325.00   23%   0.1   $25.00     0.00% Settlement Related
                              Receive, read and prepare response to email(s) from TO and CL re: settlement
9/21/2020   Stacy Gibson      agreement language                                                                 0.1   $15.00   $150.00   $190.00   21%   0.1   $15.00     0.00% In House Conference
                              Work on Client's file: phone call w/ CL re SA language reserving attorneys fees
9/21/2020   Thomas Odom       issue. reviewed nmsa terms and emailed CL and SG                                   0.1    $2.50  $25.00  $25.00        0%     0    $0.00   100.00% Settlement Related
9/21/2020   Courtney Lowery   Preparation and drafting of settlement agreement                                   0.6   $60.00 $100.00 $150.00       33%   0.6   $60.00     0.00% Settlement Related
9/21/2020   Courtney Lowery   Editing and revision of Settlement Agreement                                       0.1   $10.00 $100.00 $150.00       33%   0.1   $10.00     0.00% Settlement Related
                              Editing and revision of settlement agreement and email to CL and SB re:
9/26/2020   Stacy Gibson      agreement, motion for approval                                                     0.4   $60.00 $150.00 $190.00       21%   0.4   $60.00     0.00% Settlement Related
9/28/2020   Josh Sanford      Examination of email to OC                                                         0.1   $25.00 $250.00 $325.00       23%   0.1   $25.00     0.00% Opposing Counsel Communication
9/28/2020   Courtney Lowery   Edit and revision of settlement agreement; send to OC                              0.2   $20.00 $100.00 $150.00       33%   0.2   $20.00     0.00% Settlement Related

9/30/2020   Sean Short        Conference with CL via telephone regarding draft settlement agreement.             0.1   $15.00 $150.00     $175.00   14%    0     $0.00   100.00% In House Conference
                              Conference with KG re client signature of settlement agreement and
9/30/2020   Courtney Lowery   settlement provisions (email)                                                      0.1   $10.00   $100.00   $150.00   33%     0    $0.00   100.00%   In House Conference
9/30/2020   Josh Sanford      Examination of emails with OC                                                      0.1   $25.00   $250.00   $325.00   23%   0.1   $25.00     0.00%   Opposing Counsel Communication
9/30/2020   Courtney Lowery   Preparation and drafting of Joint Motion to Approve Settlement                     0.7   $70.00   $100.00   $150.00   33%   0.7   $70.00     0.00%   Settlement Related
9/30/2020   Courtney Lowery   Editing and revision of Motion for Approval; send to OC                            0.1   $10.00   $100.00   $150.00   33%   0.1   $10.00     0.00%   Settlement Related
9/30/2020   Josh Sanford      Editing and revision of joint motion-approval                                      0.1   $25.00   $250.00   $325.00   23%   0.1   $25.00     0.00%   Settlement Related
10/1/2020   Josh Sanford      Read and review ECF #,                                                             0.1   $25.00   $250.00   $325.00   23%     0    $0.00   100.00%   Case Management
10/1/2020   Courtney Lowery   Work on Client's file: complete settlement card in SF                              0.1   $10.00   $100.00   $150.00   33%     0    $0.00   100.00%   Case Management

10/1/2020   Courtney Lowery   Preparation and drafting of Joint Motion for Extension; send to OC for review      0.3   $30.00 $100.00     $150.00   33%   0.3   $30.00     0.00% Case Management
                              Preparation and Drafting of Motion for Extension; phone calls to OC (left vm)
10/1/2020   Courtney Lowery   and OC's staff re possibility of filing Joint Motion; efile Motion                 0.4   $40.00 $100.00 $150.00       33%   0.4   $40.00     0.00%   Case Management
10/1/2020   Josh Sanford      Editing and revision of joint motion                                               0.1   $25.00 $250.00 $325.00       23%   0.1   $25.00     0.00%   Case Management
10/1/2020   Josh Sanford      Editing and revision of revised joint motion                                       0.1   $25.00 $250.00 $325.00       23%     0    $0.00   100.00%   Case Management
10/1/2020   Josh Sanford      Examination of order                                                               0.1   $25.00 $250.00 $325.00       23%   0.1   $25.00     0.00%   Case Management
10/1/2020   Kaylee Gould      Telephone Conference(s) with Kimberly Oden re settlement agreement                 0.1    $2.50  $25.00  $25.00        0%   0.1    $2.50     0.00%   Client Communication
                              Compose electronic communication to Kimberly Oden re settlement
10/1/2020   Kaylee Gould      agreement to sign                                                                  0.1    $2.50    $25.00    $25.00   0%    0.1    $2.50     0.00% Client Communication
10/1/2020   Kaylee Gould      Telephone Conference(s) with Kimberly Oden re attorneys fees                       0.1    $2.50    $25.00    $25.00   0%    0.1    $2.50     0.00% Client Communication
10/1/2020   Kaylee Gould      Conference with CL re contacting client re settlement agreement                    0.1    $2.50    $25.00    $25.00   0%    0.1    $2.50     0.00% Client Communication
                              Compose electronic communication (text) to Kimberly Oden re settlement
10/1/2020   Kaylee Gould      agreement                                                                          0.1    $2.50    $25.00    $25.00   0%    0.1    $2.50     0.00% Client Communication
10/1/2020   Kaylee Gould      Conference with CL re attorneys fees                                               0.1    $2.50    $25.00    $25.00   0%    0.1    $2.50     0.00% In House Conference
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10/1/2020    Courtney Lowery   Conference with KG re client signature on SA                                   0.1   $10.00 $100.00     $150.00   33%   0.1   $10.00     0.00% In House Conference

10/1/2020    Josh Sanford      Receive, read and prepare response to email(s) from CL: contact from OC        0.1   $25.00 $250.00     $325.00   23%     0    $0.00   100.00% In House Conference
10/1/2020    Courtney Lowery   Preparation and drafting of Motion for Recusal and BIS                         0.7   $70.00 $100.00     $150.00   33%   0.7   $70.00     0.00% Motion for Recusal
                               Telephone Conference(s) between Attorney and Client re settlement
10/2/2020    Courtney Lowery   agreement                                                                      0.4   $40.00   $100.00   $150.00   33%   0.4   $40.00     0.00% Client Communication
                               Receive, read and prepare response to text(s) from Kimberly Oden re concerns
10/2/2020    Kaylee Gould      re signing settlement agreement                                                0.1    $2.50  $25.00  $25.00        0%   0.1    $2.50     0.00%   Client Communication
10/2/2020    Courtney Lowery   Compose electronic communication re signed settlement agreement                0.1   $10.00 $100.00 $150.00       33%   0.1   $10.00     0.00%   Client Communication
10/2/2020    Courtney Lowery   Conference with KG re client signature for settlement agreement                0.1   $10.00 $100.00 $150.00       33%   0.1   $10.00     0.00%   In House Conference
10/2/2020    April Rhéaume     Conference with CL re: client settlement agreement                             0.1   $15.00 $150.00 $200.00       25%     0    $0.00   100.00%   In House Conference

10/2/2020    Kaylee Gould      Conference with CL re settlement agreement signed by Kimberly Oden (email)     0.1    $2.50    $25.00    $25.00   0%    0.1    $2.50     0.00% In House Conference
                               Conference with CL re Kimberly Oden text messages re concerns re signing
 10/2/2020   Kaylee Gould      settlement agreement (email, in person)                                        0.1   $2.50  $25.00  $25.00         0%   0.1   $2.50      0.00%   In House Conference
 10/2/2020   Josh Sanford      Conference with VK: motion for recusal                                         0.1  $25.00 $250.00 $325.00        23%     0   $0.00    100.00%   In House Conference
 10/2/2020   Josh Sanford      Examination of two emails from OC                                              0.1  $25.00 $250.00 $325.00        23%   0.1  $25.00      0.00%   Opposing Counsel Communication
 10/2/2020   Kaylee Gould      Receipt and review of settlement agreement signed by Kimberly Oden             0.1   $2.50  $25.00  $25.00         0%   0.1   $2.50      0.00%   Settlement Related
 10/4/2020   Josh Sanford      Work on Client's file: recusal issue (Oct 1 through 4)                         0.7 $175.00 $250.00 $325.00        23%   0.7 $175.00      0.00%   Motion for Recusal
10/12/2020   Tracy Freeman     Work on Client's file: process ECFs.                                           0.1   $2.50  $25.00  $25.00         0%   0.1   $2.50      0.00%   Case Management
10/13/2020   Tracy Freeman     Work on Client's file: process ECFs.                                           0.1   $2.50  $25.00  $25.00         0%   0.1   $2.50      0.00%   Case Management

11/10/2020   Courtney Lowery   Telephone Conference with OC (left vm) re signed settlement agreement          0.2   $20.00   $100.00   $150.00   33%     0    $0.00   100.00%   Settlement Related
11/11/2020   Josh Sanford      Examination of settlement filings                                              0.1   $25.00   $250.00   $325.00   23%     0    $0.00   100.00%   Case Management
11/11/2020   Courtney Lowery   Telephone Conference(s) with client re status of settlement                    0.1   $10.00   $100.00   $150.00   33%   0.1   $10.00     0.00%   Client Communication
11/11/2020   Josh Sanford      Examination of emails with OC                                                  0.1   $25.00   $250.00   $325.00   23%   0.1   $25.00     0.00%   Opposing Counsel Communication
11/11/2020   Courtney Lowery   Compose electronic communication with OC re settlement agreement               0.1   $10.00   $100.00   $150.00   33%   0.1   $10.00     0.00%   Settlement Related

11/11/2020   Courtney Lowery   Filing of Joint Motion to Approve Settlement; conference with SB re same       0.2   $20.00 $100.00 $150.00       33%   0.2   $20.00     0.00% Settlement Related
11/16/2020   Tracy Freeman     Work on Client's file: process ECFs.                                           0.1    $2.50  $25.00  $25.00        0%   0.1    $2.50     0.00% Case Management
11/16/2020   Tracy Freeman     Work on Client's file: process ECFs.                                           0.1    $2.50  $25.00  $25.00        0%   0.1    $2.50     0.00% Case Management

11/17/2020   Courtney Lowery   Telephone Conference(s) between Attorney and Client re status of settlement    0.1  $10.00    $100.00   $150.00   33%   0.1  $10.00      0.00%   Client Communication
11/17/2020   Courtney Lowery   Conference with RM re Motion for Fees                                          0.1  $10.00    $100.00   $150.00   33%     0   $0.00    100.00%   In House Conference
11/17/2020   Rebecca Matlock   Email Conference with CL and JS about drafting a fee petition                  0.1  $15.00    $150.00   $190.00   21%     0   $0.00    100.00%   In House Conference
11/17/2020   Rebecca Matlock   Email Conference with TF to request excel invoice for fee petition             0.1  $15.00    $150.00   $190.00   21%   0.1  $15.00      0.00%   In House Conference
11/18/2020   Rebecca Matlock   Preparation and Drafting of Fee Petition--preparing and editing invoice          2 $300.00    $150.00   $190.00   21%     1 $150.00     50.00%   Fee Petition
11/18/2020   Courtney Lowery   Conference with JS and RM re fee petition and Motion to Recuse                 0.1  $10.00    $100.00   $150.00   33%   0.1  $10.00      0.00%   In House Conference
11/19/2020   Rebecca Matlock   Preparation and Drafting of Fee Petition--preparing and editing invoice        0.5  $75.00    $150.00   $190.00   21%     0   $0.00    100.00%   Fee Petition

11/19/2020   Courtney Lowery   Receive, read and prepare response to email(s) from JS re Motion to Recuse     0.1  $10.00    $100.00   $150.00   33%   0.1  $10.00      0.00%   In House Conference
11/19/2020   Courtney Lowery   Preparation and Drafting of Motion for Recusal                                 1.1 $110.00    $100.00   $150.00   33%   1.1 $110.00      0.00%   Motion for Recusal
11/20/2020   Rebecca Matlock   Preparation and Drafting of Fee Petition                                       1.5 $225.00    $150.00   $190.00   21%     1 $150.00     33.33%   Fee Petition
11/30/2020   Courtney Lowery   Editing and revision of Fee Petition                                           0.5  $50.00    $100.00   $150.00   33%   0.3  $30.00     40.00%   Fee Petition
11/30/2020   Josh Sanford      Editing and revision of Fee Petition                                           0.1  $25.00    $250.00   $325.00   23%   0.1  $25.00      0.00%   Fee Petition
